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                                     ATTORNEYS’ EYES ONLY



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     Case No: 1:17-cv-60426-UU

   ALEKSEJ GUBAREV, et al.,

          Plaintiffs,
   v.

   BUZZFEED, INC., et al.,

         Defendants.
   _____________________________________/


                   DECLARATION OF NATHAN SIEGEL IN SUPPORT OF
               DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT
                ON THE ISSUE OF PLAINTIFFS’ STATUS AS PUBLIC FIGURES


          I, Nathan Siegel, pursuant to 29 U.S.C. § 1746, hereby declare as follows:

          1.      I am a partner at the law firm of Davis Wright Tremaine LLP, counsel for

   Plaintiffs BuzzFeed, Inc. and Ben Smith in the above-captioned proceeding.

          2.      I make this declaration in order to annex exhibits relied upon in Defendants’

   Memorandum of Points and Authorities in support of their Motion for Summary Judgment;

          3.      Annexed hereto as Exhibit 1 is a true and correct copy of XBT’s Response to

   Interrogatories dated July 19, 2017.

          4.      Annexed hereto as Exhibit 2 is a true and correct copy of XBT’s Third

   Supplemental Responses to Interrogatories dated February 18, 2018.

          5.      Annexed hereto as Exhibit 3 is a true and correct copy of the transcript from the

   April 30, 2018 Deposition of Plaintiff Aleksej Gubarev.

          6.      Annexed hereto as Exhibit 4 is a true and correct copy of Exhibit AW-8 from the

   April 30, 2018 Deposition of Aleksej Gubarev.
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                                   ATTORNEYS’ EYES ONLY


          7.     Annexed hereto as Exhibit 5 is a true and correct copy of Exhibit PV-6 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          8.     Annexed hereto as Exhibit 6 is a true and correct copy of Exhibit PV-7 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          9.     Annexed hereto as Exhibit 7 is a true and correct copy of Exhibit PV-8 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          10.    Annexed hereto as Exhibit 8 is a true and correct copy of Exhibit AW-7 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          11.    Annexed hereto as Exhibit 9 is a true and correct copy of Exhibit AW-11 from

   the April 30, 2018 Deposition of Aleksej Gubarev.

          12.    Annexed hereto as Exhibit 10 is a true and correct copy of Exhibit PV-5 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          13.    Annexed hereto as Exhibit 11 is a true and correct copy of Exhibit PV-9 from the

   April 30, 2018 Deposition of Aleksej Gubarev .

          14.    Annexed hereto as Exhibit 12 is a true and correct copy of the transcript from the

   Deposition of Rajesh Mishra.

          15.    Annexed hereto as Exhibit 13 is a true and correct copy of Exhibit 52 from the

   Deposition of Rajesh Mishra.

          16.    Annexed hereto as Exhibit 14 is a true and correct copy of Exhibit 53 from the

   Deposition of Rajesh Mishra.

          17.    Annexed hereto as Exhibit 15 is a true and correct copy of Exhibit AM-1 from

   the April 30, 2018 Deposition of Aleksej Gubarev.




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                                     ATTORNEYS’ EYES ONLY


          18.     Annexed hereto as Exhibit 16 is a true and correct copy of Exhibit AWM-1 from

   the April 30, 2018 Deposition of Aleksej Gubarev.

          19.     Annexed hereto as Exhibit 17 is a true and correct copy of a web page publicly

   available at http://www.fubarwebmasters.com:80/galleries.php?id=801&page=2, which includes

   a photograph of Gubarev wearing a nametag as “Alex Xe.”

          20.     Annexed hereto as Exhibit 18 is a true and correct copy of Exhibit AG-6 from the

   April 30, 2018 Deposition of Aleksej Gubarev, along with the original Russian article available

   at http://www.forbes.ru/forbes/issue/2006-03/13804-virtualnoe-podpole, and a certified

   translation thereof.

          21.     Annexed hereto as Exhibit 19 is a true and correct copy of an August 2,

   2013article by Brian Krebs for the website Krebs on Security, printed from the website at

   https://krebsonsecurity.com/2013/08/pavel-vrublevsky-sentenced-to-2-5-years/.

          22.     Annexed hereto as Exhibit 20 is a true and correct copy of the Memorandum of

   Points and Authorities in Support of Plaintiff’s Motion for an Ex Parte Temporary Restraining

   Order and Order to Show Cause, filed publicly on June 1, 2009 by the Federal Trade

   Commission in the matter of FTC v. Pricewert LLC d/b/a/ 3FN.net et al., Case No. 5:09-cv-

   02407-RMW (Dkt. 5), printed from the website at

   https://www.ftc.gov/sites/default/files/documents/cases/2009/06/0906043fnmemotro.pdf.

          23.     Annexed hereto as Exhibit 21 is a true and correct copy of Exhibit MC-1from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          24.     Annexed hereto as Exhibit 22 is a true and correct copy of a November 18, 2014

   article by Brian Krebs for Slate, printed from the website at




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                                      ATTORNEYS’ EYES ONLY


   http://www.slate.com/articles/technology/future_tense/2014/11/spam_nation_meet_the_russian_

   cybercrooks_behind_the_digital_threats_in_your.html.

          25.    Annexed hereto as Exhibit 23 is a true and correct copy of a December 29, 2009

   article for Newsweek, printed from the website at https://www.newsweek.com/russian-computer-

   hackers-are-global-threat-75837.

          26.    Annexed hereto as Exhibit 24 is a true and correct copy of a November 12, 2008

   article by Brian Krebs for the Washington Post, printed from the website at

   http://www.washingtonpost.com/wp-dyn/content/article/2008/11/12/AR2008111200658_3.html

          27.    Annexed hereto as Exhibit 25 is a true and correct copy of Exhibit MC-2 from

   the April 30, 2018 Deposition of Aleksej Gubarev.

          28.    Annexed hereto as Exhibit 26 is a true and correct copy of a June 4, 2009 press

   release by the Federal Trade Commission, printed from the website at https://www.ftc.gov/news-

   events/press-releases/2009/06/ftc-shuts-down-notorious-rogue-internet-service-provider-3fn.

          29.    Annexed hereto as Exhibit 27 is a true and correct copy of a May 19, 2010 press

   release by the Federal Trade Commission, printed from the website at https://www.ftc.gov/news-

   events/press-releases/2010/05/ftc-permanently-shuts-down-notorious-rogue-internet-service.

          30.    Annexed hereto as Exhibit 28 is a true and correct copy of Exhibit TFN-1from

   the April 30, 2018 Deposition of Aleksej Gubarev.

          31.    Annexed hereto as Exhibit 29 is a true and correct copy of a November 12, 2012

   press release from MarketWired titled “XBT Holding Ltd. Acquires 1-800-HOSTING, Inc.,”

   printed from the website at http://www.marketwired.com/press-release/xbt-holding-ltd-acquires-

   1-800-hosting-inc-1724402.htm.




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                                     ATTORNEYS’ EYES ONLY


          32.     Annexed hereto as Exhibit 30 is a true and correct copy of a document produced

   by Plaintiffs in this litigation bearing the Bates stamp P-F000247.

          33.     Annexed hereto as Exhibit 31 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000266.

          34.     Annexed hereto as Exhibit 32 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000231.

          35.     Annexed hereto as Exhibit 33 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000258.

          36.     Annexed hereto as Exhibit 34 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000256.

          37.     Annexed hereto as Exhibit 35 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000013.

          38.     Annexed hereto as Exhibit 36 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000018.

          39.     Annexed hereto as Exhibit 37 is a true and correct copy of Exhibit 2 to the

   Deposition of Nikolay Dvas.

          40.     Annexed hereto as Exhibit 38 is a true and correct copy of the transcript from the

   May 17, 2018 Deposition of Nikolay Dvas.

          41.     Annexed hereto as Exhibit 39 is a true and correct copy of Exhibit 4 to the

   Deposition of Nikolay Dvas.

          42.     Annexed hereto as Exhibit 40 is a true and correct copy of Exhibit 5 to the

   Deposition of Nikolay Dvas.




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                                       ATTORNEYS’ EYES ONLY


           43.     Annexed hereto as Exhibit 41 is a true and correct copy of Exhibit 7 to the

   Deposition of Nikolay Dvas.

           44.     Annexed hereto as Exhibit 42 is a true and correct copy of Exhibit 13 to the

   Deposition of Nikolay Dvas).

           45.     Annexed hereto as Exhibit 43 is a true and correct copy of Exhibit 14 to the

   Deposition of Nikolay Dvas.

           46.     Annexed hereto as Exhibit 44 is a true and correct copy of Exhibit 15 to the

   Deposition of Nikolay Dvas.

           47.     Annexed hereto as Exhibit 45 is a true and correct copy of Exhibit 27 to the

   Deposition of Nikolay Dvas).

           48.     Annexed hereto as Exhibit 46 is a true and correct copy of Exhibit 28 to the

   Deposition of Nikolay Dvas.

           49.     Annexed hereto as Exhibit 47 is a true and correct copy of Exhibit R-5 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

           50.     Annexed hereto as Exhibit 48 is a true and correct copy of document P-F000122,

   and a certified translation thereof..

           51.     Annexed hereto as Exhibit 49 is a true and correct copy of the transcript of the

   June 28, 2018 30(b)(6) deposition of Plaintiff Aleksej Gubarev.

           52.     Annexed hereto as Exhibit 50 is a true and correct copy of a September 1, 2015

   article by Shaun Walker for The Guardian, printed from the website available at

   https://www.theguardian.com/world/2015/sep/01/russia-internet-privacy-laws-control-web

           53.     Annexed hereto as Exhibit 51 is a true and correct copy of a July 4, 2014 article

   by Alexei Anishchuk for Reuters, printed from the website at https://www.reuters.com/article/us-




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                                     ATTORNEYS’ EYES ONLY


   russia-internet-bill-restrictions/russia-passes-law-to-force-websites-onto-russian-servers-

   idUSKBN0F91SG20140704

          54.     Annexed hereto as Exhibit 52 is a true and correct copy of Exhibit R-7 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          55.     Annexed hereto as Exhibit 53 is a true and correct copy of Exhibit PR-24 from

   the April 30, 2018 Deposition of Aleksej Gubarev, along with a certified translation of the

   document.

          56.     Annexed hereto as Exhibit 54 is a true and correct copy of document produced by

   Plaintiffs in this litigation bearing the Bates stamp P-F000270, along with a certified translation

   of the document.

          57.     Annexed hereto as Exhibit 55 is a true and correct copy of Exhibit PR-39 from

   the April 30, 2018 Deposition of Aleksej Gubarev, along with a certified translation of the

   document.

          58.     Annexed hereto as Exhibit 56 is a true and correct copy of Exhibit 16 to the

   Deposition of Nikolay Dvas.

          59.     Annexed hereto as Exhibit 57 is a true and correct copy of Exhibit PR-38 from

   the April 30, 2018 Deposition of Aleksej Gubarev, along with a certified translation of the

   document.

          60.     Annexed hereto as Exhibit 58 is a true and correct copy of a June 25, 2018 article

   by Adam Segal for the Council on Foreign Relations, printed from the website at

   https://www.cfr.org/blog/who-was-german-klimenko-and-what-does-his-dismissal-mean-

   russian-internet.




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                                    ATTORNEYS’ EYES ONLY


          61.    Annexed hereto as Exhibit 59 is a true and correct copy of Exhibit 30 to the

   Deposition of Nikolay Dvas, along with a certified translation of the document.

          62.    Annexed hereto as Exhibit 60 is a true and correct copy of Exhibit 33 to the

   Deposition of Nikolay Dvas, along with a certified translation of the document.

          63.    Annexed hereto as Exhibit 61 is a true and correct copy of Exhibit 32 to the

   Deposition of Nikolay Dvas.

          64.    Annexed hereto as Exhibit 62 is a true and correct copy of Exhibit 34 to the

   Deposition of Nikolay Dvas.

          65.    Annexed hereto as Exhibit 63 is a true and correct copy of the page titled “About

   the Forum” on the publicly available website for the St. Petersburg International Economic

   Forum (SPIEF), printed from the website at https://forumspb.com/en/about/?lang=en.

          66.    Annexed hereto as Exhibit 64 is a true and correct copy of Exhibit 24 to the

   Deposition of Nikolay Dvas.

          67.    Annexed hereto as Exhibit 65 is a true and correct copy of Exhibit 31 to the

   Deposition of Nikolay Dvas.

          68.    Annexed hereto as Exhibit 66 is a true and correct copy of Exhibit 38 to the

   Deposition of Nikolay Dvas.

          69.    Annexed hereto as Exhibit 67 is a true and correct copy of Exhibit 51 to the

   Deposition of Nikolay Dvas.

          70.    Annexed hereto as Exhibit 68 is a true and correct copy of Exhibit 52 to the

   Deposition of Nikolay Dvas.

          71.    Annexed hereto as Exhibit 69 is a true and correct copy of Exhibit 50 to the

   Deposition of Nikolay Dvas.




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                                   ATTORNEYS’ EYES ONLY


          72.    Annexed hereto as Exhibit 70 is a true and correct copy of Exhibit PR 2 from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          73.    Annexed hereto as Exhibit 71 is a true and correct copy of Exhibit PR 1from the

   April 30, 2018 Deposition of Aleksej Gubarev.

          74.    Annexed hereto as Exhibit 72 is a true and correct copy of Exhibit 45 to the

   Deposition of Nikolay Dvas.

          75.    Annexed hereto as Exhibit 73 is a true and correct copy of Exhibit 47 to the

   Deposition of Nikolay Dvas.

          76.    Annexed hereto as Exhibit 74 is a true and correct copy of Exhibit 46 to the

   Deposition of Nikolay Dvas.

          77.    Annexed hereto as Exhibit 75 is a true and correct copy of Exhibit 48 to the

   Deposition of Nikolay Dvas).

          78.    Annexed hereto as Exhibit 76 is a true and correct copy of Exhibit PR-83 from

   the April 30, 2018 Deposition of Aleksej Gubarev.

          79.    Annexed hereto as Exhibit 77 is a true and correct copy of Exhibit 53 to the

   Deposition of Nikolay Dvas.

          80.    Annexed hereto as Exhibit 78 is a true and correct copy of Exhibit 55 to the

   Deposition of Nikolay Dvas.

          81.    Annexed hereto as Exhibit 79 is a true and correct copy of Exhibit 56 to the

   Deposition of Nikolay Dvas.

          82.    Annexed hereto as Exhibit 80 is a true and correct copy of Exhibit 57 to the

   Deposition of Nikolay Dvas.




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                                       ATTORNEYS’ EYES ONLY


           83.     Annexed hereto as Exhibit 81 is a true and correct copy of Exhibit PR-7 from the

    April 30, 2018 Deposition of Aleksej Gubarev.

           84.     Annexed hereto as Exhibit 82 is a true and correct copy of an E-mail from

    Alexey Gubarev to Modupeh Jahamaliah dated September 14, 2016 re: Interview with

    AppMaster/MyEmoji.com.

           85.     Annexed hereto as Exhibit 83 is a true and correct copy of the website page for

    the October 18, 2016 episode (Episode 485) of the AppMasters Podcast, titled “485: Biggest

    Lesson of Growing a Company with Aleksej Gubarev,” printed from the website at

    https://appmasters.com/servers-aleksej-gubarev, along with a CD containing a true and correct

    copy of the podcast audio downloaded from the website.

           86.     Annexed hereto as Exhibit 84 is a true and correct copy of the June 1, 2018

    Declaration of James W. McDermott on behalf of KGlobal, LLC, certifying records produced by

    KGlobal in this litigation.

           87.     Annexed hereto as Exhibit 85 is a true and correct copy of Exhibit 3 from the

    May 16, 2018 Deposition of Aleksej Gubarev.

           88.     Annexed hereto as Exhibit 86 is a true and correct copy of the transcript from the

    May 16, 2018 deposition of Plaintiff Aleksej Gubarev.

           89.     Annexed hereto as Exhibit 87 is a true and correct copy of Exhibit 3 from the

    May 16, 2018 Deposition of Aleksej Gubarev.

           90.     Annexed hereto as Exhibit 88 is a true and correct copy of Shayefar Decl. Exhibit

    44 with certificate of accuracy translation.

           91.     Annexed hereto as Exhibit 89 is a true and correct copy of Exhibit 60 to the

    Deposition of Nikolay Dvas.




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                                      ATTORNEYS’ EYES ONLY


           92.    Annexed hereto as Exhibit 90 is a true and correct copy of Exhibit 61 to the

    Deposition of Nikolay Dvas.

           93.    Annexed hereto as Exhibit 91 is a true and correct copy of Exhibit 62 to the

    Deposition of Nikolay Dvas.

           94.    Annexed hereto as Exhibit 92 is a true and correct copy of Exhibit 63 to the

    Deposition of Nikolay Dvas.

           95.    Annexed hereto as Exhibit 93 is a true and correct copy of articles referenced in

    Exhibit 63 to the Deposition of Nikolay Dvas.

           96.    Annexed hereto as Exhibit 94 is a true and correct copy of Exhibit 64 to the

    Deposition of Nikolay Dvas).

           97.    Annexed hereto as Exhibit 95 is a true and correct copy of Exhibit 32 to the

    Deposition of Rajesh Mishra.

           98.    Annexed hereto as Exhibit 96 is a true and correct copy of Exhibit 1 to the

    Deposition of Jeffrey Anderson.

           99.    Annexed hereto as Exhibit 97 is a true and correct copy of Exhibit 6 to the

    Deposition of Jeffrey Anderson.

           100.   Annexed hereto as Exhibit 98 is a true and correct copy of Exhibit 65 to the

    Deposition of Nikolay Dvas.

           101.   Annexed hereto as Exhibit 99 is a true and correct copy of Exhibit 66 to the

    Deposition of Nikolay Dvas.

           102.   Annexed hereto as Exhibit 100 is a true and correct copy of Exhibit 69 to the

    Deposition of Nikolay Dvas.




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                                      ATTORNEYS’ EYES ONLY


           103.    Annexed hereto as Exhibit 101 is a true and correct copy of Exhibit 70 to the

    Deposition of Nikolay Dvas.

           104.    Annexed hereto as Exhibit 102 is a true and correct copy of Exhibit 81 to the

    Deposition of Nikolay Dvas.

           105.    Annexed hereto as Exhibit 103 is a true and correct copy of Exhibit 86 to the

    Deposition of Nikolay Dvas.

           106.    Annexed hereto as Exhibit 104 is a true and correct copy of Exhibits 6A and 6B

    to the Deposition of Jochem Steman.

           107.    Annexed hereto as Exhibit 105 is a true and correct copy of the transcript from

    the Deposition of Jochem Steman.

           108.    Annexed hereto as Exhibit 106 is a true and correct copy of Exhibit 3 to the

    Deposition of Jochem Steman.

           109.    Annexed hereto as Exhibit 107 is a true and correct copy of document produced

    by Plaintiffs in this litigation bearing the Bates stamp P-H000053.

           110.    Annexed hereto as Exhibit 108 is a true and correct copy of document produced

    by Plaintiffs in this litigation bearing the Bates stamp P-H000007.

           111.    Annexed hereto as Exhibit 109 is a true and correct copy of document produced

    by Plaintiffs in this litigation bearing the Bates stamp P-P000150.

           112.    Annexed hereto as Exhibit 110 is a true and correct copy of document produced

    by Plaintiffs in this litigation bearing the Bates stamp P-P000191.

           113.    Annexed hereto as Exhibit 111 is a true and correct copy of document produced

    by Plaintiffs in this litigation bearing the Bates stamp P-P000157.




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                                      ATTORNEYS’ EYES ONLY


           114.    Annexed hereto as Exhibit 112 is a true and correct copy of Exhibits 7A and 7B

    from the Deposition of Jochem Steman.

           115.    Annexed hereto as Exhibit 113 is a true and correct copy of Exhibit 10 from the

    Deposition of Jochem Steman.

           116.    Annexed hereto as Exhibit 114 is a true and correct copy of Exhibits 8A and 8B

    from the Deposition of Jochem.

           117.    Annexed hereto as Exhibit 115 is a true and correct copy of Exhibits 9A and 9B

    from the Deposition of Jochem Steman.

           118.    Annexed hereto as Exhibit 116 is a true and correct copy of Exhibit 12 from the

    Deposition of Jochem Steman.

           119.    Annexed hereto as Exhibit 117 is a true and correct copy of document produced

    by Plaintiffs in this litigation bearing the Bates stamp P-P000021.

           120.    Annexed hereto as Exhibit 118 is a true and correct copy of Exhibit 16 to the

    Deposition of Anthony Ferrante.

           121.    Annexed hereto as Exhibit 119 is a true and correct copy of a February 14, 2017

    article by Alan Cullison for the Wall Street Journal, printed from the website

    https://www.wsj.com/articles/russian-tech-entrepreneur-denies-link-to-donald-trump-hacking-

    report-1487096190.

           122.    Annexed hereto as Exhibit 120 is a true and correct copy of Exhibits 24A and

    24B from the Deposition of Jochem Steman.

           123.    Annexed hereto as Exhibit 121 is a true and correct copy of an August 6, 2007

    article by Michael Specter for the New Yorker, printed from the website

    https://www.newyorker.com/magazine/2007/08/06/damn-spam.




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                                      ATTORNEYS’ EYES ONLY


           124.    Annexed hereto as Exhibit 122 is a true and correct copy of an August 26, 2009

    article by Ellen Messmer for Network World, printed from the website

    https://www.networkworld.com/article/2247722/wireless/trojan-attacks-up--phishing-attacks-

    down-this-year--ibm-finds.html.

           125.    Annexed hereto as Exhibit 123 is a true and correct copy of a June 20, 2017

    article by Andy Greenberg for Wired, printed from the website

    https://www.wired.com/story/russian-hackers-attack-ukraine.

           126.    Annexed hereto as Exhibit 124 is a true and correct copy of an April 8, 2015

    article by Evan Perez and Shimon Prokupecz for CNN, printed from the website

    https://edition.cnn.com/2015/04/07/politics/how-russians-hacked-the-wh/index.html.

           127.    Annexed hereto as Exhibit 125 is a true and correct copy of a March 10, 2015

    article by Evan Perez and Shimon Prokupecz for CNN, printed from the website

    https://www.cnn.com/2015/03/10/politics/state-department-hack-worst-ever/index.html.

           128.    Annexed hereto as Exhibit 126 is a true and correct copy of a June 14, 2016

    article by Ellen Nakashima for the Washington Post, printed from the website

    https://www.washingtonpost.com/world/national-security/russian-government-hackers-

    penetrated-dnc-stole-opposition-research-on-trump/2016/06/14/cf006cb4-316e-11e6-8ff7-

    7b6c1998b7a0_story.html.

           129.    Annexed hereto as Exhibit 127 is a true and correct copy of an October 7, 2016

    Joint Statement from the Department of Homeland Security and Office of the Director of

    National Intelligence on Election Security, printed from the website

    https://www.dhs.gov/news/2016/10/07/joint-statement-department-homeland-security-and-

    office-director-national.




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                                      ATTORNEYS’ EYES ONLY


           130.    Annexed hereto as Exhibit 128 is a true and correct copy of a December 29, 2016

    Joint Analysis Report by Federal Bureau of Investigation and Department of Homeland Security

    titled Grizzly Steppe – Russian Malicious Cyber Activity, printed from the website

    https://www.us-cert.gov/sites/default/files/publications/JAR_16-

    20296A_GRIZZLY%20STEPPE-2016-1229.pdf.

           131.    Annexed hereto as Exhibit 129 is a true and correct copy of a February 19, 2008

    article by Karen Spaink for Het Parool, printed from the website

    http://www.spaink.net/2008/02/19/child-pornography-fight-it-or-hide-it/.

           132.    Annexed hereto as Exhibit 130 is a true and correct copy of a February 19, 2008

    article from Het Parool, printed from the website at https://www.parool.nl/binnenland/politie-

    liet-kinderporno-lopen~a12093/, along with a certified translation of the document.

           133.    Annexed hereto as Exhibit 131 is a true and correct copy of a December 2, 2008

    article by Peter Olstoorn for Webwereld, printed from the website at

    https://webwereld.nl/overheid/39597-leaseweb-verliest-van-parool-en-spaink-over-kinderporno,

    along with a certified translation of the document.

           134.    Annexed hereto as Exhibit 132 is a true and correct copy of a July 28, 2009

    report from CNN iReport, printed from the website at http://ireport.cnn.com/docs/DOC-305369.

           135.    Annexed hereto as Exhibit 133 is a true and correct copy of relevant excerpts

    from the June 18, 2018 Deposition of Christopher Steele.

           136.    Annexed hereto as Exhibit 134 is a true and correct copy of the October 16, 2015

    comments submitted by the Motion Picture Association of America to the U.S. Intellectual

    Property Enforcement Coordinator in the Office of Management and Budget, printed from the




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    U.S. government website Regulations.gov at https://www.regulations.gov/document?D=OMB-

    2015-0003-0058.

           137.    Annexed hereto as Exhibit 135 is a true and correct copy of Exhibit 17 to the

    Deposition of Anthony Ferrante.

           138.    Annexed hereto as Exhibit 136 is a true and correct copy of a November 15, 2017

    article by Kevin G. Hall for McClatchy News, printed from the website at

    https://www.mcclatchydc.com/news/nation-world/national/article184786328.html.

           139.    Annexed hereto as Exhibit 137 is a true and correct copy of Exhibits AG-4A and

    AG-4B, from the April 30, 2018 Deposition of Aleksej Gubarev.

           140.    Annexed hereto as Exhibit 138 is a true and correct copy of Exhibits 18A and

    18B of the Deposition of Jochem Steman.

           141.    Annexed hereto as Exhibit 139 is a true and correct copy of document produced

    by KGlobal, LLC in this litigation bearing the Bates stamp KGlobal003786.

           142.    Annexed hereto as Exhibit 140 is a true and correct copy of an August 9, 2001

    article by Chris Brummitt for the Associated Press, printed from the website at

    https://www.apnews.com/1d99dcf5d238746af1ee9054e7c506a4.



           I declare under penalty of perjury that the foregoing is true and correct.

           Executed on September 21, 2018 in Washington, District of Columbia.




                                                         /s/ Nathan Siegel_____________
                                                         Nathan Siegel




                                                    16
